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                                                          12                                 UNITED STATES DISTRICT COURT
F ENWICK & W EST LLP




                                                                                           NORTHERN DISTRICT OF CALIFORNIA
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                                                          13
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                                                          14                                          SAN JOSE DIVISION

                                                          15

                                                          16   IN RE INTUIT DATA LITIGATION                      Master Docket No. 15-CV-01778-EJD

                                                          17                                                     REPLY MEMORANDUM IN
                                                                                                                 SUPPORT OF INTUIT’S MOTION TO
                                                          18                                                     DISMISS PLAINTIFFS’ THIRD
                                                                                                                 CONSOLIDATED AMENDED
                                                          19   THIS DOCUMENT RELATES TO:                         COMPLAINT

                                                          20                    ALL ACTIONS                      REDACTED VERSION OF
                                                                                                                 DOCUMENT SOUGHT TO BE
                                                          21                                                     SEALED

                                                          22                                                     Date:       March 29, 2018
                                                                                                                 Time:       9:00 a.m.
                                                          23                                                     Location:   Courtroom 4, 5th floor
                                                                                                                 Judge:      The Hon. Edward J. Davila
                                                          24

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                                                           4                                  Plaintiffs’ Third Consolidated Amended Complaint Pursuant to
                                                                                              Federal Rule of Civil Procedure 12(b)(6), filed Dec. 15, 2017
                                                           5                                  (Dkt. No. 140-1)
                                                           6   Darke Declaration              Declaration of Jessica Darke in Support of Motion to Dismiss
                                                                                              Third Consolidated Amended Complaint Pursuant to Fed. Rule of
                                                           7
                                                                                              Civil Procedure 12(b)(6), filed Dec. 15, 2017 (Dkt. No. 140-20)
                                                           8
                                                               Diaz                           Plaintiff Christine Diaz, a resident of Ohio
                                                           9
                                                               Intuit                         Defendant Intuit Inc.
                                                          10
                                                               IRS                            Internal Revenue Service
                                                          11
                                                               IRS Pub. 1345                  IRS Publication 1345, “Handbook for Authorized IRS e-file
                                                          12                                  Providers of Individual Income Tax Returns,” attached as Exhibit
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                                                                                              E to the Cole Decl. III
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                                                               MTD TCAC                       Intuit’s Motion to Dismiss Plaintiffs’ Third Consolidated
                                                          14
                                                                                              Amended Complaint Pursuant to Federal Rule of Civil Procedure
                                                          15                                  12(b)(6), filed Dec. 15, 2017 (Dkt. No. 140)

                                                          16   Opposition or Opp.             Plaintiffs’ Memorandum in Opposition to Motion to Dismiss
                                                                                              Third Consolidated Amended Complaint, filed Jan. 17, 2018
                                                          17                                  (Dkt. No. 146)
                                                          18   Order                          Order Granting in Part and Denying in Part Motion to Dismiss,
                                                                                              filed Sept. 29, 2017 (Dkt. No. 124)
                                                          19

                                                          20   PII                            Personally identifiable information

                                                          21   Plaintiffs                     Brown, Diaz, Carol Knoch, James Lebinski, David Stock, and
                                                                                              Marilyn Williams
                                                          22
                                                               RJN                            Request for Judicial Notice in Support of Defendant Intuit Inc.’s
                                                          23                                  Motion to Dismiss Plaintiffs’ Third Consolidated Amended
                                                                                              Complaint, filed Feb. 5, 2016 (Dkt. No. 141)
                                                          24
                                                               RJN Reply                      Reply Memorandum in Support of Intuit’s Request for Judicial
                                                          25                                  Notice in Support of Motion to Dismiss Plaintiffs’ Third
                                                          26                                  Consolidated Amended Complaint

                                                          27   TCAC                           Third Consolidated Amended Complaint, filed Nov. 17, 2017
                                                                                              (Dkt. 131)
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                                                               INTUIT INC.’S REPLY IN SUPPORT OF MOTION               v                      CASE NO.: 5:15-cv-01778-EJD
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                                                           1                                          I. INTRODUCTION
                                                           2          Plaintiffs have tried three times to plead cognizable claims against Intuit for aiding and

                                                           3   abetting fraud and for negligence (as to non-customer Brown), and each time Plaintiffs have

                                                           4   failed. In their Opposition, Plaintiffs lead by noting that Intuit is not challenging the Section

                                                           5   17200 or unjust enrichment claims in the TCAC, but this is irrelevant to Plaintiffs’ continued

                                                           6   failure to adequately plead the claims that Intuit is challenging in this Motion. Plaintiffs accuse

                                                           7   Intuit of (1) aiding and abetting fraud on the basis that fraudsters filed tax refunds using PII stolen

                                                           8   from unidentified third parties; and (2) negligence based on a proposed duty that would impose

                                                           9   liability if Intuit fails in any way to protect all American taxpayers from criminals who attempt to

                                                          10   defraud the taxing authorities through TurboTax. But the law is clear that if Plaintiffs want to

                                                          11   proceed with their claims, they need to allege sufficient facts stating such claims.

                                                          12          The handful of new facts in the TCAC do not overcome the deficiencies identified by the
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                                                               Court in its Order. And Plaintiffs cannot use discovery to support claims that are deficiently pled.
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                                                          14   Brown and Diaz’s aiding-and-abetting claim fails because Plaintiffs cannot plead that Intuit had

                                                          15   actual knowledge or substantially assisted a fraud. Brown’s negligence claim fails because Intuit

                                                          16   owes no duty to non-customers, and Brown has not otherwise identified any indicia of fraud that

                                                          17   would have or should have put Intuit on notice of foreseeable harm. In their Opposition,

                                                          18   Plaintiffs simply recycle arguments already rejected by the Court, and refuse to respond

                                                          19   substantively to controlling case law and the policy reasons that also weigh heavily against

                                                          20   creating and imposing upon Intuit new and unlimited common law duties to all American

                                                          21   taxpayers. For all of these reasons and as set forth in detail below, Intuit respectfully requests that

                                                          22   this Court grant its motion.

                                                          23                                               II. ARGUMENT

                                                          24   A.     Plaintiffs Diaz and Brown Cannot Plead a Claim for Aiding and Abetting Fraud.
                                                          25          Plaintiffs Diaz and Brown’s aiding and abetting fraud claim fails because they have pled

                                                          26   neither actual knowledge nor substantial assistance, including with the particularity required

                                                          27   under Rule 9(b). Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th 1138, 1145 (2005).

                                                          28

                                                                INTUIT INC.’S REPLY IN SUPPORT OF MOTION               1                    CASE NO.: 5:15-cv-01778-EJD
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                                                           1          1.      Plaintiffs Have Not Alleged Actual Knowledge.
                                                           2          Plaintiffs concede that this Court’s Order requires them to plead “more than Intuit’s
                                                           3   knowledge of the massive ongoing fraud—i.e., that Plaintiffs’ actual knowledge allegations must
                                                           4   include allegations of knowledge pertaining to the returns filed in their names specifically.”
                                                           5   Opp. at 17:15-18 (citing Order at 7-8) (emphasis added). Nevertheless, Plaintiffs spend much of
                                                           6   their brief arguing that it is enough to allege awareness of the existence of fraud generally, and
                                                           7   that they need not allege Intuit’s actual knowledge that the tax returns “filed in [Plaintiffs’] names
                                                           8   specifically” were, in fact, fraudulent. See generally id. at Opp. at 15:20-17:12 (purporting to
                                                           9   distinguish case law requiring allegations of actual knowledge about the underlying fraud). But
                                                          10   an aiding-and-abetting claim requires knowledge that “the [primary tortfeasor’s] conduct
                                                          11   constitutes a breach of duty,” Order at 7:15 (quoting Saunders v. Super. Ct., 27 Cal. App. 4th 832,
                                                          12   846 (1994)), and this Court should once again reject Plaintiffs’ failed attempt to plead an aiding-
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                                                          13   and-abetting claim without alleging that Intuit actually knew that it was transmitting fraudulent
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                                                          14   tax returns in Plaintiffs’ names.
                                                          15          E-Shops Corp. v. U.S. Bank Nat’l Ass’n, 678 F.3d 659 (8th Cir. 2012) is instructive and
                                                          16   should guide the Court here. Opp. at 15:20-16:1. In E-Shops, an online merchant accused a bank
                                                          17   of aiding and abetting unknown third parties who fraudulently ordered merchandise from the
                                                          18   plaintiff’s website using credit cards issued to the bank’s customers. As here, the plaintiff
                                                          19   attempted to allege actual knowledge by identifying a general pattern of activity supposedly
                                                          20   indicative of fraud. See id. at 664 (plaintiff alleged “U.S. Bank knows when fraudulent orders
                                                          21   come through the system, because the cardholder typically has processed a change of address
                                                          22   shortly before placing a large volume of orders on several different websites”). The Court
                                                          23   rejected the plaintiff’s argument because the pattern of allegedly fraudulent activity was also
                                                          24   consistent with legitimate customer activity: “The single suggestion that a change of address
                                                          25   after a number of large orders signals identity theft is attenuated when, in the ordinary course of
                                                          26   banking business, cardholders change their address for various unspecified reasons.” Id. The
                                                          27   Court went on to dismiss the aiding-and-abetting claim because there were no factual allegations
                                                          28   “that U.S. Bank knew the information it processed from the cardholders were false at the time of

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                                                           1   receipt.” Id.
                                                           2          Plaintiffs rely on In re First Alliance Mortg. Co., 471 F.3d 977, 995 (9th Cir. 2006) to
                                                           3   argue that they need only plead “defendant’s knowledge of the general fraudulent scheme,” Opp.
                                                           4   at 17:4-5, but this misconstrues the facts and holding of that case. In First Alliance Mortg., the
                                                           5   primary tortfeasor was a mortgage company engaged in a series of fraudulent marketing
                                                           6   practices. 471 F.3d at 985. The aiding and abetting defendant was a large financial firm that
                                                           7   provided the financing for the mortgage company to issue and securitize loans. Id. at 986-87.
                                                           8   Critically in that case, defendant’s own investigation and internal reports noted that the specific
                                                           9   mortgage company at issue was accused of fraudulent and unethical business practices. Id.
                                                          10   Under those circumstances – where the bank was alleged to be aware of specific misconduct by a
                                                          11   single mortgage broker based on detailed reports it received regarding that specific company’s
                                                          12   fraudulent practices, rather than mortgage fraud generally – the court upheld the jury’s finding
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                                                          13   that the bank possessed actual knowledge of the fraud. Id. at 994. As a result, First Alliance
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                                                          14   Mortg. is simply inapposite where, as here, the fraud is committed by many unknown third parties
                                                          15   who are only revealed to be potentially fraudsters after Intuit complies with its statutory
                                                          16   obligations to transmit the tax return and the IRS has examined the return for potential fraud.
                                                          17          Applying the proper standard, which requires “allegations of knowledge pertaining to the
                                                          18   returns filed in [Plaintiffs’] names specifically,” Opp. at 17:15-18 (citing Order at 7-8), the TCAC
                                                          19   once again fails to state a claim. With respect to Diaz, Plaintiffs purport to allege actual
                                                          20   knowledge of fraud because
                                                          21

                                                          22                                                                Opp. at 17:28-18:5; TCAC ¶¶ 123-24.
                                                          23   But Plaintiffs’ opposition fails to address Intuit’s argument that
                                                          24                                                       MTD TCAC at 10:13-28.
                                                          25                                                                          See, e.g., Cole Decl. III ¶ 15,
                                                          26   Ex. L (IRS guidance noting that a married taxpayer “may want to prepare their taxes both ways
                                                          27   [i.e., as married filing jointly and married filing separately] before they choose”).
                                                          28

                                                                INTUIT INC.’S REPLY IN SUPPORT OF MOTION               3                    CASE NO.: 5:15-cv-01778-EJD
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                                                           1                                See E-Shops, 678 F.3d at 664 (“The single suggestion that a change of
                                                           2   address … signals identity theft is attenuated when, in the ordinary course of banking business,
                                                           3   cardholders change their address for various unspecified reasons”). Neither of these newly
                                                           4   alleged facts show that Intuit had reason to suspect any of the tax returns filed in Diaz’s name
                                                           5   were fraudulent, let alone that Intuit had actual knowledge that the returns were fraudulent.
                                                           6          With respect to Plaintiff Brown, the TCAC purports to allege actual knowledge of fraud
                                                           7   based on the fact that
                                                           8                                               TCAC ¶ 111; Opp. at 17:22-24. But an aiding-and-
                                                           9   abetting claim requires actual knowledge of fraud, not just a suspicion of fraud, Casey, 127 Cal.
                                                          10   App. 4th at 1152, and Plaintiffs fail to explain how knowledge of a “risk” equates to a certainty of
                                                          11   fraud. For example, Plaintiffs do not allege that
                                                          12
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                                                          14                                                       Absent such additional allegations, Plaintiffs
                                                          15   have pled only that Intuit was aware of a risk (i.e., a possible suspicion) of fraud, but they have
                                                          16   not pled actual knowledge. See E-Shops, 678 F.3d at 664 (dismissing aiding-and-abetting claim
                                                          17   where allegations of actual knowledge were premised on pattern of activity consistent with both
                                                          18   legitimate and fraudulent activity); see also Casey, 127 Cal. App. 4th at 1146-52 (“[A]iding and
                                                          19   abetting … necessarily requires a defendant to reach a conscious decision to participate in
                                                          20   tortious activity for the purpose of assisting another in performing a wrongful act”) (citation
                                                          21   omitted).
                                                          22          Even if the TCAC did allege actual knowledge of fraud – and it does not – Plaintiffs fail
                                                          23   to allege that Intuit acted with such knowledge at the time it transmitted the fraudulent return.
                                                          24                                                                       see, e.g., Opp. at 17:21-22, but
                                                          25   the TCAC fails to allege that Intuit had any knowledge that the account was fraudulent, or that
                                                          26   anyone had flagged the account as suspicious, at the time Intuit performed its statutory obligation
                                                          27   to transmit the tax return to the IRS. TCAC ¶¶ 110-11. Indeed,
                                                          28                                      evident on the face of the document quoted in the TCAC, which

                                                                INTUIT INC.’S REPLY IN SUPPORT OF MOTION               4                    CASE NO.: 5:15-cv-01778-EJD
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                                                           1   this Court may consider under the incorporation by reference doctrine.1 Critically,
                                                           2

                                                           3                                                                                  RJN at 1:9-14, 4:17-
                                                           4   5:12; Darke Declaration, Ex. 1; RJN Reply at 2:3-3:21. The document quoted by Plaintiffs
                                                           5   clearly indicates that
                                                           6             See Darke Declaration, Ex. 1 at INTUIT00052010. In contrast,
                                                           7

                                                           8                                       Id.
                                                           9             Plaintiffs argue that they should be permitted to take discovery in support of their claim,
                                                          10   Opp. at 18:19-21, but Plaintiffs should not be permitted to use discovery as a fishing expedition to
                                                          11   search for facts to support a deficient claim. See Bellecourt v. United States, 784 F. Supp. 623,
                                                          12   633 (D. Minn. 1992) (“Plaintiff's assertion that he will fill in the details of his complaint with
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                                                          13   additional discovery is inappropriate and insufficient to withstand defendant’s motion.”).
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                                                          14             Plaintiffs have had three opportunities to plead a cognizable claim but still cannot plead
                                                          15   that Intuit had actual knowledge that “the returns filed in [Plaintiffs’] names specifically” were
                                                          16   fraudulent. Order at 7:19-21. The aiding-and-abetting claim should be dismissed with prejudice.
                                                          17             2.      Plaintiffs Have Not Pled that Intuit Substantially Assisted in the Fraud.
                                                          18             An aiding-and-abetting claim also requires Plaintiffs to plead that Intuit provided
                                                          19   “substantial assistance” to the alleged fraud. Order at 7:14-8:11; Casey, 127 Cal. App. 4th at
                                                          20   1145. Substantial assistance “requires a ‘significant and active, as well as a knowing
                                                          21   participation in the wrong.’” Order at 7:24-26 (quoting Alfus v. Pyramid Tech. Corp., 745 F.
                                                          22   Supp. 1511, 1520 (N.D. Cal. 1990)). Plaintiffs have failed to plead that Intuit provided
                                                          23   substantial assistance to the alleged fraud because (1) Plaintiffs have not tied any “significant and
                                                          24   active” act by Intuit to the fraudulent returns filed in Plaintiffs’ names, (2) a failure to act cannot
                                                          25
                                                               1
                                                          26     Documents incorporated by reference in the complaint may properly be considered on a motion
                                                               to dismiss. See RJN at 4:17-5:12; RJN Reply at 2:3-3:21; Swartz v. KPMG LLP, 476 F.3d 756,
                                                          27   763 (9th Cir. 2007) (a plaintiff cannot survive a Rule 12(b)(6) motion by referencing a writing in
                                                               a complaint but deliberately omitting the documents upon which claims are based). Plaintiffs’
                                                          28   argument to the contrary fails to cite any authority supporting their position. See Opp. at 9:8-23.

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                                                           1   constitute substantial assistance as a matter of law, and (3) in any event, Plaintiffs fail to plead
                                                           2   substantial assistance with the particularity required by Rule 9(b).
                                                           3          First, the aiding-and-abetting claim fails because Plaintiffs have not identified a
                                                           4   “significant and active” act specifically connected to the fraudulent returns filed in Plaintiffs’
                                                           5   names. As a preliminary matter, Plaintiffs do not even attempt to explain how the automatic and
                                                           6   obligatory transmission of a tax return to the IRS and relevant state agencies constitutes a
                                                           7   “significant and active” act. See Opp. at 19:15-21:10; see also Alfus, 745 F. Supp. at 1520;
                                                           8   Casey, 127 Cal. App. 4th at 1146-52 (aiding and abetting requires a “conscious decision to
                                                           9   participate”). Indeed, it is unclear how transmitting tax returns – which Intuit is legally required
                                                          10   to do, see MTD TCAC at 5:24-6:6 – could ever be a “significant and active” act, let alone reflect
                                                          11   a “conscious decision to participate.” With respect to Diaz, Plaintiffs allege that Intuit
                                                          12   substantially assisted the fraud
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                                                          17   TCAC ¶ 124; Opp. at 20:17-18. Plaintiffs characterize
                                                          18                                                                  , Opp. at 20:17-18, but Plaintiffs
                                                          19   again fail to cite relevant authority, or otherwise explain,
                                                          20                                                                                       could possibly
                                                          21   constitute a “significant and active” act. Alfus, 745 F. Supp. at 1520; Casey, 127 Cal. App. 4th at
                                                          22   1146-52.
                                                          23          Plaintiffs also attempt to allege substantial assistance by pointing to Intuit’s adoption of
                                                          24   policies that may, in some cases, be exploited by fraudsters. Opp. at 19:20-20:8 (Intuit allegedly
                                                          25   provided “a mechanism for non-traceable refunds,” modified its fraud prevention technology,
                                                          26   “allowed the re-use of the same Social Security number across numerous TurboTax accounts,”
                                                          27   and permitted filers to file unlinked state tax returns). Plaintiffs purport to cite Facebook, Inc. v.
                                                          28   MaxBounty, Inc., 2011 WL 4346514 (N.D. Cal. Sept. 14, 2011) for the proposition that the

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                                                           1   adoption of generally-applicable policies can constitute a “significant and active” act for purposes
                                                           2   of substantial assistance, see Opp. at 20:9-14, but the case does not support Plaintiffs’ argument.
                                                           3   In Facebook, the purported aiding-and-abetting defendant specifically signed off on and approved
                                                           4   of the primary tortfeasor’s fraudulent techniques and procedures, even going as far as to provide
                                                           5   technical assistance to implement the techniques. Id. at *4. Plaintiffs have not alleged and could
                                                           6   never allege any such facts here. Moreover, even if the adoption of generally-applicable policies
                                                           7   could constitute substantial assistance, Plaintiffs plainly cannot meet the substantial assistance
                                                           8   standard without also alleging how the policies enabled or facilitated the specific fraudulent
                                                           9   returns filed in Plaintiffs’ names.2 See Order at 7. Not only does the TCAC fail to allege such
                                                          10   links, it actually alleges that some of the policies Plaintiffs take issue with could not have caused
                                                          11   Plaintiffs’ injuries. See, e.g., TCAC ¶¶ 51-52 (describing Intuit’s general policy of permitting
                                                          12   filers to file state tax returns without filing a corresponding federal return); id. at ¶ 124 (alleging
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                                                          13   that                                                                    ); Darke Decl., Ex. 1 at
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                                                          14   INTUIT00052010 (                                          ).
                                                          15             Second, the TCAC fails to state a claim because, as this Court previously recognized,
                                                          16   “failure to act does not constitute substantial assistance for purposes of aiding and abetting
                                                          17   liability.” Order at 8:4-5; Fiol v. Doellstedt, 50 Cal. App. 4th 1318, 1326 (1996) (“Mere
                                                          18   knowledge that a tort is being committed and the failure to prevent it does not constitute aiding
                                                          19   and abetting.”). With respect to Brown, Plaintiffs allege only that Intuit
                                                          20                                                  Opp. at 20:15-17; TCAC ¶¶ 111-12; see also Part
                                                          21   II.A.1, supra. Plaintiffs also try once again to repackage Intuit’s alleged failure to act as
                                                          22   affirmative acts by pleading omissions in the affirmative. See, e.g., Opp. at 19:26-28 (“Intuit
                                                          23   made the deliberate choice not to use [certain software]); id. at 20:2-3 (Intuit “eliminated”
                                                          24   (i.e., failed to implement) multi-factor authentication)). These allegations cannot circumvent the
                                                          25   rule that aiding and abetting requires more than the mere failure to prevent a tort. Order at 8:4-7.
                                                          26
                                                               2
                                                          27     Plaintiffs would also need to allege actual knowledge that Intuit’s policies were substantially
                                                               assisting third parties to file fraudulent returns “in [Plaintiffs’] names specifically.” See Part
                                                          28   II.A.1, supra.

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                                                           1          Third, Plaintiffs’ aiding-and-abetting claims fail because their allegations do not satisfy
                                                           2   Rule 9(b)’s particularity requirements. Even the cases cited by Plaintiffs acknowledge that Rule
                                                           3   9(b) requires a plaintiff to specifically allege the link between Intuit and the specific third parties
                                                           4   who filed fraudulent returns in Plaintiffs’ names. See, e.g., United States v. United Healthcare
                                                           5   Ins. Co., 848 F.3d 1161, 1181-82 (9th Cir. 2016) (dismissing certain fraud claims because
                                                           6   allegations “provide[d] no details linking these defendants to the scheme” even if they provided
                                                           7   defendants sufficient notice to defend against the charge) (internal quotations and citations
                                                           8   omitted)); see also Marcelos v. Dominguez, 2008 WL 2788173, at *5, 8-9 (N.D. Cal. July 18,
                                                           9   2008) (finding Rule 9(b) satisfied only where plaintiff identified in detail the party that
                                                          10   affirmatively and actively participated in an allegedly fraudulent transaction); Opp. at 21:18-22:6.
                                                          11   Without detailed allegations of the alleged misconduct, including allegations of who engaged in
                                                          12   the underlying fraud, Plaintiffs; own cases make clear that Plaintiffs cannot plead substantial
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                                                          13   assistance with the requisite particularity. Swartz, 476 F.3d at 764 (plaintiff must plead “time,
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                                                          14   place, and specific content of the false representations as well as the identities of the parties to the
                                                          15   misrepresentations” (citation and quotation omitted)).
                                                          16          Plaintiffs argue that the fraudsters’ identity might never be available because Intuit’s own
                                                          17   policies impeded identifying them. Opp. at 21:12-17. But even these protestations constitute an
                                                          18   admission that Plaintiffs cannot carry the burden of pleading the fraudsters’ identities, and
                                                          19   underscore one of the many deficiencies of this claim. See Impac Warehouse Lending Grp. v.
                                                          20   Credit Suisse First Boston Corp., 2006 WL 6935318, at *8-9 (C.D. Cal. June 20, 2006)
                                                          21   (allegations that defendants’ actions provided a “ready, willing, and eager market” for fraud could
                                                          22   “at best, be characterized as a passive endorsement of GMA’s fraud” insufficient for substantial
                                                          23   assistance); see also E-Shops, 795 F. Supp. 2d at 877 (dismissing claim against bank where
                                                          24   plaintiff failed to plead who had engaged in alleged fraudulent conduct; general allegations that
                                                          25   unspecified third parties engaged in fraud were insufficient).
                                                          26          Diaz and Brown have failed to properly plead their aiding and abetting fraud claim, even
                                                          27   after three attempts. Their claim should therefore be dismissed with prejudice.
                                                          28

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                                                           1   B.     The Negligence Claim Must Be Dismissed as to Non-Customer Plaintiff Brown.
                                                           2          Intuit owes no duty to non-customer Plaintiff Brown, and Plaintiffs have failed to identify

                                                           3   any objective indicia of fraud that would have otherwise triggered a duty of inquiry on Intuit.

                                                           4          1.      The Alleged Harm to Brown Was Not Reasonably Foreseeable.

                                                           5          As this Court previously held, “[i]n general, there is no duty to protect against the conduct

                                                           6   of another in the absence of a special relationship.” Order at 5:14-15 (citing Tarasoff v. Regents of

                                                           7   Univ. of Cal., 17 Cal. 3d 425, 434-35 (1976)). The Court went on to dismiss Brown’s negligence

                                                           8   claim on lack of foreseeability grounds because Brown “was not a TurboTax customer and never

                                                           9   provided personal identifying information to Intuit,” and because Brown failed to allege

                                                          10   “suspicious circumstances” or “danger signals” which “would have or should have placed Intuit

                                                          11   on notice that a fraudster was opening a TurboTax account in his name.” Order at 5:21-26.

                                                          12          The Court’s prior order is consistent with the long line of banking and identity theft cases
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                                                               declining to impose a common law duty to protect non-customers’ PII and prevent crimes by
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                                                          14   unrelated third-parties absent “suspicious circumstances” or “danger signals.” Order at 6:15-17;

                                                          15   MTD TCAC at 18:1-9 (gathering cases). For example, in Longenecker-Wells v. BeneCard Servs.,

                                                          16   Inc., 2015 WL 5576753 (M.D. Pa. Sept. 22, 2015), the court declined to find a duty in the identity

                                                          17   theft context, noting that the threat of data breaches is “omnipresent” and that regardless of what

                                                          18   preventative measures are taken, the potential disparity between the degree of defendant’s fault

                                                          19   and damages could be immensely disproportionate if the court imposed a duty. Id. at *6-7; see

                                                          20   also Eisenberg v. Wachovia Bank, N.A., 301 F.3d 220, 226 (4th Cir. 2002) (banks owe no duty to

                                                          21   noncustomers “even when the noncustomer is the person in whose name an account was

                                                          22   fraudulently opened.”); Willingham v. Global Payments, Inc., 2013 WL 440702, at *18 (N.D. Ga.

                                                          23   Feb. 5, 2013) (payment service owed no duty where no direct relationship exists); Polzer v. TRW,

                                                          24   Inc., 682 N.Y.S.2d 194, 195 (N.Y. App. Div. 1998) (dismissing negligence claim because bank

                                                          25   had no relationship with plaintiffs or with imposter who stole plaintiffs’ PII).

                                                          26          Plaintiffs try to avoid these cases by relegating them to a footnote, and arguing they

                                                          27   involve only “isolated conduct by isolated bad actors.” Opp. at 10 n.2; see also id. at 11 n.3. The

                                                          28   banking and identity theft cases are instructive. Fraudulent checks and transactions are common

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                                                           1   and well-known risks for banks and other financial institutions, similar to the common and well-
                                                           2   known risk of tax fraud. It is also unclear how Plaintiffs can purport to distinguish the cases by
                                                           3   saying they “do not complain merely of ‘some generally omnipresent risk of harm,’” when the
                                                           4   very same sentence (and the opposition more generally) goes on to argue “SIRF and ATO fraud
                                                           5   through TurboTax affect[s] millions of innocent taxpayers.” Id. at 11 n.3; id. at 5:18-7:6
                                                           6   (describing Intuit’s awareness of fraud). Similarly, the “isolated” bad actors at issue in the
                                                           7   banking and identity theft cases are directly analogous to the unidentified third party who filed a
                                                           8   fraudulent tax return in Brown’s name.
                                                           9             Plaintiffs also attempt to sidestep the banking and identity theft cases by citing a series of
                                                          10   cases discussing duty more generally, including the duty to protect others from reasonably
                                                          11   foreseeable physical or personal injuries.3 Opp. at 6:22-7:6. By contrast, the harms alleged here
                                                          12   are purely economic in nature, and “[r]ecognition of a duty to manage business affairs so as to
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                                                          13   prevent purely economic loss to third parties in their financial transactions is the exception, not
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                                                          14   the rule, in negligence law.” Ratcliff Architects v. Vanir Constr. Mgmt., Inc., 88 Cal. App. 4th
                                                          15   595, 605 (2001); see also id. (California courts “are reluctant to impose duties to prevent
                                                          16   economic harm to third parties because ‘[a]s a matter of economic and social policy, third parties
                                                          17   should be encouraged to rely on their own prudence, diligence, and contracting power, as well as
                                                          18   other informational tools’”). This Court already rejected Plaintiffs’ argument that Intuit owes a
                                                          19   duty to non-customers based on the omnipresent risks associated with tax fraud, and it should
                                                          20   continue to do so here.
                                                          21             Applying the legal standard set forth in Sun ‘n Sand, Inc. v. United Cal. Bank, 21 Cal. 3d
                                                          22
                                                               3
                                                          23     See Opp. at 6:12-7:6 (collecting cases, many of which involve a heightened or pre-existing
                                                               duty). See, e.g., Ileto v. Glock Inc., 349 F.3d 1191, 1204 (9th Cir. 2003) (gun manufacturers and
                                                          24   distributors had duty not to create illegal secondary market); Collins v. Navistar, 214 Cal. App.
                                                               4th 1486 (2013) (finding windshield manufacturer has heightened duty to address common road
                                                          25   hazards in strict products liability claim); Pamela L. v. Farmer, 112 Cal. App. 3d 206 (1980)
                                                               (wife had duty not to put victims at risk where she knew of husband’s prior history of molesting
                                                          26   children); O’Hara v. W. Seven Trees Corp., 75 Cal. App. 3d 798, 803 (1977) (landlord has a duty
                                                               to protect in common areas); Delgado v. Trax Bar & Grill, 36 Cal. 4th 224, 245 (2005) (business
                                                          27   has duty to maintain its premises); Ballard v. Uribe, 41 Cal. 3d 564 (1986) (discussing duty owed
                                                               to bailor of property and vehicle owners).
                                                          28

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                                                           1   671 (1978), and its progeny, and this Court’s own prior Order, the TCAC fails to allege
                                                           2   suspicious circumstances giving rise to a legal duty to non-customer Brown.
                                                           3                                                                                     Opp. at 8:7-17, does
                                                           4   not constitute objective indicia of fraud. As noted in Part II.A.1 supra, Plaintiffs do not allege
                                                           5   that
                                                           6                                                                 4
                                                                                                                                 The allegation here stands in stark
                                                           7   contrast to the clear and obvious red flags at issue in Sun ‘n Sand, where a rogue employee
                                                           8   deposited checks into her personal account even though the checks were expressly made payable
                                                           9   to the defendant bank. Sun ‘n Sand, 21 Cal. 3d at 695. Simply put, the allegation of
                                                          10                on its own, is not a strong enough “danger signal” to trigger the “narrowly
                                                          11   circumscribed duty” to protect non-customers like Brown. Id. And not only is the
                                                          12
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                                                          13                                                  See Darke Declaration, Ex. 1 at INTUIT00052010; see
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                                                          14   also Part II.A.1, supra; Reply RJN at 2:3-3:21. Thus, Plaintiffs have failed to allege that Intuit
                                                          15   was subject to any duty to protect non-customer Brown as of the time that Intuit transmitted the
                                                          16   fraudulent return.5
                                                          17             Plaintiffs also fail to address Intuit’s argument that the third Rowland factor (closeness of
                                                          18   the connection between defendant’s conduct and injury suffered) cuts against the foreseeability of
                                                          19   harm. MTD TCAC at 20:5-23. Intuit is neither authorized nor in any position to make any
                                                          20   4
                                                                   Ileto does not excuse Plaintiffs’ failure to
                                                                                                                                     In Ileto, the negligence claim
                                                          21   was based on detailed allegations regarding how a manufacturer that produced the gun used in a
                                                               shooting negligently created a secondary market for guns. 349 F.3d at 1201-02. The case is
                                                          22   distinguishable because it involved physical, rather than economic, harm. See Ratcliff Architects,
                                                               88 Cal. App. 4th at 605 (California courts “are reluctant to impose duties to prevent economic
                                                          23   harm to third parties”).
                                                               5
                                                          24     Plaintiffs argue that it is premature to consider whether the TCAC alleges objective indicia of
                                                               fraud at the pleading stage, and that discovery will shed light on the issue. Opp. at 8:1-3, 7-10.
                                                          25   However, this argument is at odds with, and directly undermined by, the very cases cited by
                                                               Plaintiffs. Sun ‘n Sand and Software Design and Application each addressed objective indicia of
                                                          26   fraud at the pleading stage. Opp. at 10:2-13; Sun ‘n Sand, 21 Cal. 3d at 695; Software Design &
                                                               Application, Ltd. v. Hoefer & Arnett, Inc., 49 Cal. App. 4th 472, 479-80 (1996). Additionally,
                                                          27   Plaintiffs cannot use discovery to supplement an otherwise deficient claim. Plaintiffs were
                                                               required allege the existence of “suspicious circumstances” or “danger signals” at the time Intuit
                                                          28   transmitted the tax returns filed in Brown’s name. They have failed to do so.

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                                                           1   determinations as to which returns are fraudulent. This is even more true where, as here, a
                                                           2   fraudster files a tax return in the name of a non-customer with whom Intuit has no prior
                                                           3   relationship and thus very little information about the taxpayer against which to compare the
                                                           4   filing. The IRS, on the other hand, has access to a broad range of taxpayer information, and is the
                                                           5   only entity authorized to determine whether a given return appears to be legitimate. MTD TCAC
                                                           6   at 20:15-19. The IRS apparently made a determination that the fraudulent return appeared
                                                           7   sufficiently legitimate. Thus, if Brown suffered any harm in connection with SIRF, it is because
                                                           8   of the intervening conduct of the IRS, not because of any actions (or inactions) by Intuit.
                                                           9   Plaintiffs simply recite their conclusory allegations that Brown’s harms are tied to tax identity
                                                          10   fraud, which they allege Intuit enabled. Opp. at 9:24-10:1.
                                                          11             Because the alleged harm was not reasonably foreseeable, Intuit owed no duty to non-
                                                          12   customer Brown, and the Court should dismiss his negligence claim.6
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                                                          13             2.      Policy Reasons Disfavor Imposing a Sweeping Duty on Intuit.
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                                                          14             The negligence claim also fails because policy reasons disfavor the creation of a new
                                                          15   common law duty here.7 See Erlich v. Menezes, 21 Cal. 4th 543, 552 (1999) (“Because the
                                                          16   consequences of a negligent act must be limited to avoid an intolerable burden on society, the
                                                          17   determination of duty ‘recognizes that policy considerations may dictate a cause of action should
                                                          18   not be sanctioned no matter how foreseeable the risk.’”) (internal citation omitted). In particular,
                                                          19   public policy reasons (including those addressed in the Rowland factors) continue to militate
                                                          20
                                                               6
                                                                 Plaintiffs plainly cannot state a negligence claim based on Intuit’s alleged
                                                          21                                                               Opp. at 8:7-14; MTD TCAC at 18:1-
                                                               20:23. After Intuit transmits the completed returns to the IRS (which it is legally obligated to do),
                                                          22   the purported harm has already occurred. Plaintiffs have not (and cannot) allege how
                                                                                                            Order at 4:25-5:2 (alleged breach must proximately
                                                          23   cause the injury) (citing Ladd v. Cty. of San Mateo, 12 Cal. 4th 913, 917 (1996))
                                                               7
                                                          24     Plaintiffs claim that Intuit’s policy argument is “unsupported and cannot justify dismissal at the
                                                               pleading state,” suggesting that the Court cannot consider policy reasons simply because
                                                          25   Plaintiffs dispute Intuit’s assertions. Opp. at 12:19-21. But Plaintiffs do not cite any case law
                                                               stating that a court cannot consider policy issues on a motion to dismiss, particularly where, as
                                                          26   here, the Rowland factors take into account multiple policy considerations. Vasilenko v. Grace
                                                               Family Church, 3 Cal. 5th 1077, 1085 (2017) (four of the Rowland factors “take into account
                                                          27   public policy concerns that might support excluding certain kinds of plaintiffs or injuries from
                                                               relief.”).
                                                          28

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                                                           1   against imposing a sweeping and ad hoc duty of care on Intuit to all American taxpayers that
                                                           2   would interfere with the highly regulated tax administration system.
                                                           3             First, Plaintiffs do not dispute that Intuit operates in a heavily regulated field as an IRS e-
                                                           4   file provider and is subject to a host of tax and privacy statutes, rules, and regulations, none of
                                                           5   which Intuit is accused of violating. MTD TCAC at 5:17-7:4. They also fail to acknowledge –
                                                           6   but apparently do not contest – that within this field, the IRS, states, and industry work together to
                                                           7   determine what measures are best suited to combat tax fraud, and are best positioned to create
                                                           8   uniform rules nationwide.8 To ask this federal court to create a new California common law duty
                                                           9   that would interfere with and displace the careful weighing of interests by the federal and state
                                                          10   legislative and regulatory process would undermine these efforts. Further, Plaintiffs’ argument
                                                          11   that no federal preemption prevents imposition of a common law duty, see Opp. at 13:11-16, is a
                                                          12   red herring. Intuit does not argue federal preemption, or otherwise assert that no negligence claim
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                                                          13   will ever be available for areas subject to federal regulation. Rather, Intuit explains that the
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                                                          14   contours of the ordinary duty of care, if it exists, must be informed by the federal regulatory
                                                          15   regime at issue, and demonstrates why a judicially-created common law duty is not the proper
                                                          16   means to address an issue like tax fraud. The Court should once again decline Plaintiffs’
                                                          17   invitation to step into the legislative and regulatory arena. MTD at TCAC 22:7-27 (citing QDOS,
                                                          18   Inc. v. Signature Fin., LLC, 2017 WL 5793973, at *7 (Cal. Ct. App. Nov. 29, 2017) (no duty to
                                                          19   deal with problems such as identity theft); Gabriel v. Giant Eagle, Inc., 2015 WL 4954578, at *9
                                                          20   (W.D. Pa. Aug. 19, 2015) (no duty on highly-regulated pharmacies); Huggins v. Citibank, N.A.,
                                                          21   355 S.C. 329, 334 (2003) ( “legislative arena is better equipped to assess and address the impact
                                                          22   of credit card fraud”).
                                                          23             Second, Plaintiffs’ proposed ad hoc duties are commercially impracticable and would not
                                                          24   eliminate SIRF. A fraudster possessing enough taxpayer PII to prepare a fraudulent return could
                                                          25   get around authentication measures at account setup because the fraudster already has all the PII
                                                          26
                                                               8
                                                                 See Cole Decl. III, Ex. H (information sharing between industry and IRS “key to making sure
                                                          27   there is a level playing field and that every organization can approach refund fraud from the same
                                                               perspective. There will no longer be safe locations in the private sector where fraudsters can
                                                          28   avoid increased analytical review.” (emphases added)); MTD TCAC at 24:7-26.

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                                                           1   needed to verify that taxpayer’s identity. And for non-customers, it is especially infeasible since
                                                           2   Intuit would have no PII about that taxpayer against which to compare a potential fraudster’s
                                                           3   submissions. Plaintiffs also do not explain how Intuit could (practically or legally) determine
                                                           4   whether an account or return is fraudulent. MTD TCAC at 6:19-7:4 (only taxing authorities can
                                                           5   determine fraud). Nor do they explain how Intuit could refuse to transmit a return in light of the
                                                           6   IRS requirement that all returns be transmitted within three days. Id. at 6:1-6 (citing IRS
                                                           7   Publication 1345). They also do not specify any way that Intuit could lawfully use such
                                                           8   submitted taxpayer information without risking federal criminal penalties. 26 U.S.C. §
                                                           9   7216(a)(1), (2). Commercial impracticability and legal restraints militate against the imposition
                                                          10   of a new common law rule.
                                                          11          Third, Plaintiffs pay little attention to the various unintended consequences that could
                                                          12   result from the Court’s imposition of even just one ad hoc duty proposed by Plaintiffs. For
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                                                          13   example, if Intuit were required to notify taxpayers about suspicious or potentially fraudulent tax
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                                                          14   returns filed in their name and request proof of identity, sensitive taxpayer information could be
                                                          15   unnecessarily disclosed, fraudsters might have an opportunity to test Intuit’s fraud policies, and
                                                          16   suspected fraudulent returns that were actually legitimate would be delayed. MTD TCAC at
                                                          17   23:6-24:6. Instead of responding to these very real concerns, Plaintiffs simply state that these
                                                          18   arguments are “unsupported,” while simultaneously failing to support their own claim with any
                                                          19   allegations in the TCAC. Opp. at 12:16-21.
                                                          20          Finally, Plaintiffs argue that the public interest in preventing future harm weighs in favor
                                                          21   of imposing a duty because Intuit is a “public trust” company that should be held to a higher duty
                                                          22   of care. Id. at 11:12-12:5. But Plaintiffs do not allege Intuit is a “public trust” company in the
                                                          23   TCAC, nor do they cite a single case holding tax software companies or authorized IRS e-filers
                                                          24   are “public trust” companies, or that any such company should be held to a higher standard
                                                          25   simply due to its market share. Id. at 12:2-5. Rather, they offer the bald assertion that Intuit “was
                                                          26   in a unique position of power” and that its role as an e-file provider gave rise to a duty that is
                                                          27   “fiduciary both in nature and spirit.” TCAC ¶¶ 81, 84. As stated in Intuit’s opening brief (which
                                                          28   Plaintiffs fail to address), as a do-it-yourself tax software provider, Intuit does not undertake a

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                                                           1   fiduciary relationship. MTD TCAC at 14:8-15. And IRS regulations actually substantially limit
                                                           2   the “power” Intuit and other do-it-yourself tax software providers have to delay or prevent the
                                                           3   filing of any individual tax return. MTD TCAC at 5-6. As a result, Plaintiffs’ arguments do not
                                                           4   meet the plausibility standard required at this stage. Ashcroft v. Iqbal, 556 U.S. 662, 664 (2009).9
                                                           5             Thus, the Rowland factors, including those involving policy concerns, weigh heavily
                                                           6   against finding a duty of care to all American taxpayers, including non-customers. Plaintiffs’
                                                           7   arguments and citation to cases finding a duty to protect against property damage or physical
                                                           8   harm caused by third-party criminals are insufficient to overcome the strong body of cases, like
                                                           9   QDOS, Burns, Karen Kane, Huggins, and Software Design, refusing to impose such a duty in the
                                                          10   identity theft and analogous banking context. This is an area where the responsibility to create
                                                          11   common law duties belongs to the Legislature and Executive, and Plaintiffs have not cited case
                                                          12   law showing otherwise. Plaintiff Brown’s negligence claim should be dismissed with prejudice.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13                                             III. CONCLUSION
                                          MOUNTAIN VIEW




                                                          14             For the foregoing reasons, Intuit respectfully requests that its motion be granted in its
                                                          15   entirety.
                                                          16   Dated: February 2, 2018                          FENWICK & WEST LLP
                                                          17                                                    By: /s/ Rodger R. Cole
                                                                                                                    Rodger R. Cole
                                                          18
                                                                                                                    Attorneys for Defendant
                                                          19                                                        INTUIT INC.
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                                                          21
                                                               9
                                                                 Plaintiffs’ continued reliance on Seeley v. Seymour, 190 Cal. App. 3d 844 (1987) remains
                                                          22   misplaced. Opp. at 11:15-12:1. In Seeley, a property owner sued a title insurance company for
                                                               economic damages stemming from the company’s delivery of a non-recordable deed of trust to
                                                          23   the county recorder. In imposing a duty, the court determined that the involvement of title
                                                               companies in the majority of real estate transactions compels a greater degree of accountability to
                                                          24   the public. Id. at 862. But Seeley is distinguishable. First, Intuit does not operate under a
                                                               government contract. Second, Intuit’s role as an e-file provider is not as integral to the filing of
                                                          25   tax returns as a title insurance company is to real estate transactions; taxpayers have non-
                                                               electronic alternatives for filing their returns. Third, the returns filed in Plaintiffs’ names through
                                                          26   TurboTax were not void on their face. See Luce v. State Title Agency, Inc., 950 P.2d 159, 162
                                                               (Ariz. Ct. App. 1997) (Seeley not controlling where defendant title company did not have contract
                                                          27   with county recorder’s office and did not deliver a facially invalid deed of trust). In fact, the
                                                               returns were so convincing that the IRS—the ultimate arbiter of whether a return is fraudulent—
                                                          28   apparently ultimately accepted the tax returns.

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